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                     Exhibit 61
              TTV VA Federal Case Invoice
                      2020-0728
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         JAMES BOPP, JR.                THE BOPP LAW FIRM, PC
        jboppjr@aol.com
                                                 ATTORNEYS AT LAW

                                                THE NATIONAL BUILDING
                                                      1 South Sixth Street
                                             TERRE HAUTE, INDIANA 47807-3510
                                        Telephone 812/232-2434 Facsimile 812/235-3685
                                                      www.bopplaw.com




                                                    INVOICE
                                                 .July 28, 2020



True the Vote, Inc.
P. 0. Box 131768
Houston, TX 77219-1768
Attn: Catherine Engelbrecht--President


In Reference To:Virginia Federal Case


               -Professional Services


                                                                                        Hrs!Rate      Amount


    611/2020 CEM           E-mail to plaintiffs regarding denial of Preliminary             0.20        62.00
                           Injunction                                                     310.00/hr


               CEM E-mails with Patrick regarding case status and                           0.30        93.00
                   needs                                                                  310.00/hr


               CEM E-mail from Plaintiff                                                    0.10       31.00
                                                                                          310.00/hr


               CEM E-mail from opposing counsel regarding                                   0.10       31.00
                   outstanding motions                                                    310.00/hr
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                                                                           Hrs/Rate      Amount


    6/2/2020 CEM      Review question from plaintiff regarding general         0.20        62.00
                      election; email form James Bopp, Jr. regarding the     310.00/hr
                      same

              CEM E-mail to opposing counsel regarding outstanding             0.10        31.00
                  motions                                                    310.00/hr


              JB      E-mail regarding general election challenge              0.10        63.00
                                                                             630.00/hr


    6/3/2020 CEM      CM/ECF Order granting Pro hac vice                       0.10        31.00
                                                                             310.00/hr


              CEM CMIECF Transcript of proceedings                             0.10        31.00
                                                                             310.00/hr


   6/5/2020 CEM       E-mail exchange with Richard E. Coleson                  0.20        62.00
                      regarding status and needs                            310.00/hr


             CEM E-mail exchange with opposing counsel regarding               0.30       93.00
                 response to complaint; conference with James               310.00/hr
                 Bopp, Jr. regarding the same

             JB       E-mail exchange with opposing counsel regarding          0.30      189.00
                      answer                                                630.00/hr


             JB       Review Defendants' Motion to Dismiss                     0.60      378.00
                                                                            630.00/hr


             REC      E-mail exchange with Courtney E. Milbank                0.20       106.00
                      regarding status and needs                            530.00/hr


             JB       Conference with Courtney E. Milbank regarding           0.10        63.00
                      response to complaint                                 630.00/hr


   6/8/2020 REC       Phone call from Courtney E. Milbank regarding           0.30       159.00
                      VRA case and possible use in case                     530.00/hr
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                                                                         Hrs/Rate      Amount


    6/8/2020 CEM      CM/ECF Motion to Dismiss                               0.10        31.00
                                                                           310.00/hr


              CEM CM/ECF Notice of Hearing                                   0.10        31.00
                                                                           310.00/hr


              CEM CMIECF Memo on Motion to Dismiss                           0.20        62.00
                                                                           310.00/hr


              CEM CMIECF Order setting Motion to Dismiss Hearing             0.10        31.00
                                                                           310.00/hr


              CEM Look up local rules regarding timing for                   0.20        62.00
                  opposition, begin evaluating response                   310.00/hr


              CEM Conference with Richard E. Coleson regarding en            0.30        93.00
                  bane 9th Circuit Opinion                                310.00/hr


   6/9/2020 CEM       Evaluate claim under Voting Rights Act: review         2.50      775.00
                      9th Circuit en bane Opinion                         310.00/hr


             CEM Evaluate no excuse absentee voting law                      0.30       93.00
                                                                          310.00/hr


  6/10/2020 REC       Review email from Courtney E. Milbank regarding        0.10       53.00
                      Virginia mailing to inactive voters                 530.00/hr


             REC      E-mail to Courtney E. Milbank regarding research      0.10        53.00
                      on VRA claim                                        530.00/hr


             REC      Phone conference with Courtney E. Milbank             0.20       106.00
                      regarding VRA issues                                530.00/hr


             REC      E-mail from James Bopp, Jr. regarding                 0.10        53.00
                      coordinating VRA research                           530.00/hr


             CEM Research no excuse absentee voting process in VA;          1.30       403.00
                 conference with Melena Siebert regarding the             31 0.00/hr
                 same; email findings to James Bopp, Jr.
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                                                                       Hrs!Rate      Amount


   6/10/2020 CEM E-mails with James Bopp, Jr. regarding                    0.20        62.00
                 coordinating with Richard E. Coleson regarding          310.00/hr
                 VRA issue

              CEM Phone conference with Richard E. Coleson                 0.20        62.00
                  regarding VRA issue                                    310.00/hr

              JB      E-mail to Richard E. Coleson regarding               0.10        63.00
                      coordinating VRA research                          630.00/hr

              MS      Conference with Courtney E. Milbank regarding        0.10        27.00
                      V A no excuse absentee voting process              270.00/hr

              JB      E-mails with Courtney E. Milbank regarding           0.20       126.00
                      coordinating with Richard E. Coleson regarding     630.00/hr
                      VRA issue

  6112/2020 CEM Evaluate next steps                                        0.30        93.00
                                                                         310.00/hr

  6115/2020 CEM Conference with James Bopp, Jr. regarding                 0.10        31.00
                voluntary dismissal                                     310.00/hr

              JB      Conference with Courtney E. Milbank regarding       0.10        63.00
                      voluntary dismissal                               630.00/hr

  6/16/2020 REC       E-mai ls with Courtney E. Milbank regarding         0.20       106.00
                      dismissal rule                                    530.00/hr

             CEM Work on notice of voluntary dismissal; email to          1.50       465.00
                 local counsel and plaintiffs regarding the same;       310.00/hr
                 send draft to James Bopp, Jr. for approval

             CEM E-mail exchange with Richard E. Coleson                  0.20        62.00
                 regarding voluntary dismissal                          310.00/hr

             CEM E-mail from Plaintiffs regarding dismissal               0.20        62.00
                                                                        310.00/hr
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                                                                           Hrs/Rate       Amount

   6/16/2020 CEM      E-mail from James Bopp, Jr. regarding approval of        0.10          31.00
                      voluntary dismissal                                    310.00/hr


              CEM E-mails with local counsel regarding filing of               0.30          93.00
                  voluntary dismissal                                        310.00/hr


              CEM CMIECF Notice of Voluntary Dismissal                         0.10          31.00
                                                                             310.00/hr


              CEM Order vacating hearing                                       0.10          31.00
                                                                             310.00/hr


              JB      Review and approve voluntary dismissal                   0.20        126.00
                                                                             630.00/hr


  6117/2020 CEM       E-mail from plaintiffs regarding dismissal               0.10          31.00
                                                                             310.00/hr


  6/18/2020 CEM       Order dismissing case without prejudice                  0.10         31.00
                                                                             310.00/hr




             For professional services rendered                               13.30      $4,927.00
             Additional charges:

                                                                          Qty/Price

   6/9/2020 Cost advanced for WestLaw computer assisted legal                    15         45.00
             research--evaluate no excuse absentee voting law                 $3.00


  6/10/2020 Cost advanced for WestLaw computer assisted legal                   25          75.00
             research--research no excuse absentee voting process in          $3.00
             VA

 6/16/2020 Cost advanced for WestLaw computer assisted legal                    10          30.00
             research--research voluntary dismissal                          $3.00
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True the Vote, Inc.                                                                Page 6


                                                                                   Amount

              Total costs                                                          $150.00


              Total amount of this bill                                           $5,077.00


              Previous balance                                                   $82,478.50



              Balance due                                                        $87,555.50




                                          Attorney Summary
Name                                                         Hrs/Rate     Rate     Amount
Courtney E. Milbank                                            10.30    310.00   $3,193.00
Melena Siebert                                                   0.10   270.00      $27.00
Richard E. Coleson                                              1.20    530.00     $636.00
James Bopp, Jr.                                                 1.70    630.00   $1,071.00
